Case 2:22-cv-00158-GMN-DJA Document 25-11 Filed 07/15/22 Page 1 of 3




                      Exhibit
                        10
             Case 2:22-cv-00158-GMN-DJA Document 25-11 Filed 07/15/22 Page 2 of 3


Cavanagh, Matthew J.

From:                                Cavanagh, Matthew J.
Sent:                                Monday, June 13, 2022 11:11 AM
To:                                  'Ryan Gile'
Cc:                                  'Rob Phillips'; Cupar, David B.; Gordon-Seifert, Andrew; jsmith@santoronevada.com;
                                     'Nick Santoro'
Subject:                             Aim High v. Spectrum


Ryan,

To summarize our call last Friday, Spectrum has not yet decided whether it will rely on the Element lab testing to prove
infringement at summary judgment or trial. For now, because expert disclosures have not yet occurred, Element is
merely a consulting expert and thus not subject to discovery. See Fed. Civ. R. 26(b)(4)(D) (barring discovery as to
consulting experts); Fed. Civ. R. 26(b)(4)(A) (allowing depositions of testifying experts “only after the report is
provided”). Spectrum may prove infringement by different testing, by a different expert, or by other means, depending
(at least in part) on what infringement evidence is produced in discovery by Aim High and its supplier(s). Spectrum is not
required to select what expert and testing it will rely upon at trial/summary judgment until the expert disclosure
deadline on March 20, 2023. The schedule allows Aim High plenty of time--after that expert disclosure is made--to
obtain testing documents by subpoena and deposition.

If Spectrum ultimately chooses to rely on the Element testing to prove infringement at trial/summary judgment, then
Element will produce the subpoenaed information and documents regarding its testing of Aim High’s product at that
time, except for documents protected against disclosure under Fed. Civ. R. 26(b)(4). Element, however, will not produce
any documents relating to prior testing of third-party products (if any exist) because they are not relevant and are
disproportionate to the needs of the case. Element also will require Aim High to pay Element’s costs of responding to
the subpoena, which Element presently estimates at $3,000 plus tax. This is required to avoid imposing an undue burden
and expense on Element under Fed. Civ. R. 45(d)(1).

To resolve this dispute, therefore, I propose that Spectrum expressly state that it has not, at this stage, selected the
Element testing to prove infringement at summary judgment or trial. Spectrum, however, reserves its right to select that
testing as infringement proof for trial/summary judgment at any time between now and the expert disclosure deadline.
If Spectrum selects Element testing, it will produce the subpoenaed information and documents for Aim High’s product
(without requiring Aim High to issue a new subpoena), but it will not produce documents protected against disclosure
under Fed. Civ. R. 26(b)(4) or documents relating to testing of third-party products (if any exist). And Aim High agrees to
pay Element’s costs for responding to the subpoena.

Let me know if this is acceptable.

Thanks,
Matt



Matt Cavanagh
Member

T: 216.348.5730                          600 Superior Avenue East
C: 216.496.5834                          Suite 2100
F: 216.348.5474                          Cleveland, OH 44114
mcavanagh@mcdonaldhopkins.com
www.mcdonaldhopkins.com



                                                                1
Case 2:22-cv-00158-GMN-DJA Document 25-11 Filed 07/15/22 Page 3 of 3




                                 2
